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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                       ROME DIVISION

 United States of America,

 v.                                      Case No. 4:18-cr-00003

 Joseph M. Propps, Jr. (16),             Michael L. Brown
                                         United States District Judge
                         Defendant.

 ________________________________/

                         OPINION AND ORDER

       Magistrate Judge Walter E. Johnson recommended denial of

Defendant Joseph M. Propps, Jr.’s motion to suppress the search and

seizure of information from his Facebook accounts.              (Dkt. 454.)

Defendant Propps objects to that recommendation, as well as the

Magistrate Judge’s separate denial of his motions for a bill of particulars

and to dismiss the superseding indictment on double jeopardy grounds.

(Dkts. 406, 407, 467.)       The Court accepts the Magistrate Judge’s

recommendations and affirms the denial of all three motions.

I.     Background

       ATF Special Agent Brian Johnson and other members of law

enforcement investigated members of the so-called Ghostface Gangsters,
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a criminal street gang involved in armed-drug trafficking, drug

smuggling, armed robbery, and other criminal activities. (Johnson Aff.

at ¶ 3.)1 He identified Defendant Propps as one of the seven founding

members, or “pillars,” of the Ghostface Gangsters. (Id. at ¶¶ 10, 19(j).)

     Special Agent Johnson sought a search warrant for Facebook

seeking information associated with Defendant’s Facebook account. In

his affidavit in support of the warrant, Special Agent Johnson explained

Defendant’s role as a founding member of the Ghostface gang and alleged

that he provided large amounts of illegal drugs to fellow gang members.

He explained that Ghostface gang members use Facebook (and other

social media outlets) to proclaim their membership in and allegiance to

the gang and to communicate with other gang members. He explained

that gang members often post photos of themselves that confirm their

membership in the gang, including photos with other known gang

members, photos in which they are making hand signs associated with

the gang, and photos showing illegal drugs and firearms. (Id. at ¶ 5.)

Finally, he alleged that Defendant Propps appears in the profile pictures



1 The Application and Affidavit for Search Warrant Special Agent
Johnson submitted is found at 4:17-MC-4-WEJ (N.D. Ga.) (sealed).


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of both the “Joey Propps” and “JP Propps” Facebook accounts. (Id. at ¶

19(j).)

      Special Agent Johnson obtained the warrant and served it on

Facebook. His investigation ultimately led to the indictment of many

individuals for various crimes. The United States charged Defendant

Propps    with   conspiring   with   other   gang   members     to   traffic

methamphetamine, in violation of 21 U.S.C. § 846. (Dkt. 279.) Defendant

moved to suppress the search warrant, arguing it lacked probable cause.

(Dkts. 409, 416.)

      The Magistrate Judge recommended denial of Defendant Propps’s

motion for two reasons. First, he concluded “it was reasonable for the

[issuing magistrate] to conclude that, given all the circumstances, there

was a fair probability that contraband or evidence of a crime would be

found in the Defendant’s Facebook accounts.” (Dkt. 454 at 5.) Second,

he concluded that, even if the warrant lacked probable cause, the

government is entitled to the good faith exception to the exclusionary rule

under United States v. Leon, 468 U.S. 897, 925 (1984). (Id.)

      Defendant Propps objects to the ruling, relying “on the arguments

and cases cited in his amended motion.” (Dkt. 467 at 1.) He also objects



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to the Magistrate Judge’s denial of his motions for a bill of particulars

and to dismiss the superseding indictment on double jeopardy grounds.

(Id. at 1–2.)

II.    Legal Standard

       After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a

magistrate judge’s report and recommendation. 28 U.S.C. § 636(b)(1);

FED. R. CRIM. P. 59; Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.

1982) (per curiam). A district judge “shall make a de novo determination

of those portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1). The

district judge should “give fresh consideration to those issues to which

specific objection has been made by a party.” Jeffrey S. v. State Bd. of

Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (citation omitted). For

those findings and recommendations to which a party has not asserted

objections, the court must conduct a plain error review of the record.

United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

       Parties   filing   objections   to   a   magistrate’s    report      and

recommendation must specifically identify those findings to which they



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object.   Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988).

“Frivolous, conclusive, or general objections need not be considered by the

district court.” Id. Even so, the Court conducts a de novo review of

Defendant Propps’s motion to suppress.

      As for Defendant Propps’s other motions, Federal Rule of Criminal

Procedure 59(a) dictates that a court may refer to a magistrate judge any

matter that does not dispose of a charge or defense. FED. R. CRIM. P.

59(a). A party may object to the magistrate judge’s determination on a

non-dispositive issue, but the district court will modify or set aside the

determination only if it is contrary to law or clearly erroneous. See id.

The Magistrate Judge’s denial of Defendant’s motion for a bill of

particulars is non-dispositive; thus the Court reviews it under Rule 59(a).

           Motions to Suppress

      Defendant Propps first challenges the denial of his motion to

suppress the information obtained from his Facebook accounts. Rather

than identify any specific errors in the Magistrate Judge’s analysis,

Defendant Propps refers the Court to the arguments and cases he cited

in his amended motion to suppress.




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            1.    Sufficiency of the Search Warrant Affidavit

      The Fourth Amendment mandates that “no Warrants shall issue,

but upon probable cause, supported by Oath or affirmation.” U.S. CONST.

amend. IV. The magistrate reviewing a warrant must make a practical,

common-sense decision whether, given all the circumstances set forth in

the probable cause affidavit, there is a fair probability that law

enforcement will find evidence of a crime in a particular place. See

Illinois v. Gates, 462 U.S. 213, 238 (1983); see also United States v.

Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999). The affidavit should

establish a connection between the defendant and the place law

enforcement wants to search and a link between that place and any

criminal activity. See United States v. Martin, 297 F.3d 1308, 1314 (11th

Cir. 2002). “[T]he duty of a reviewing court is simply to ensure that the

magistrate had a ‘substantial basis’ for concluding that probable cause

existed . . . .” Gates, 462 U.S. at 250.

      Courts must give “great deference” to a magistrate judge’s decision

and uphold a magistrate’s findings even in marginal or doubtful cases.

See United States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990).

“Deference to the magistrate, however, is not boundless.” Leon, 468 U.S.



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at 914. “[R]eviewing courts will not defer to a warrant based on an

affidavit that does not provide the magistrate with a substantial basis for

determining the existence of probable cause.”        Id. at 915 (internal

quotation marks omitted).

     Here, the Court disagrees with the Magistrate Judge’s conclusion

that the affidavit established probable cause to conclude that law

enforcement would find evidence of a crime on Defendant Propps’s

Facebook page. To establish probable cause, the affidavit must have

linked Defendant Propps’s Facebook account to the illegal conspiracy.

See United States v. Blake, 868 F.3d 960 (11th Cir. 2017) (probable cause

to search Facebook account found where account listed defendant’s

occupation as “Boss Lady” at “Tricks R [U]s” thereby linking account to

sex-trafficking conspiracy). It does not do so. To be sure, the affidavit

alleges that Ghostface Gangster members used their Facebook accounts

to further the goals of the gang, posting photos or communications that

might evidence criminal activity. The affidavit, however, does not allege

that all gang members do this or that Defendant Propps used his

Facebook account for such purposes. Similarly, the affidavit alleges that

gang members often use street names in their Facebook accounts, but it



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does not allege that either “Joey Propps” or “JP Propps” are street names

that Defendant Propps uses or used when associating with Ghostface

Gangsters members. (Johnson Aff. at ¶ 4). Finally, the affidavit alleges

that the gang has a public Facebook account, Ghost767face family, and

that many gang members are also part of that Facebook page. (Id. at

19(a).) But, the affidavit does not link Defendant Propps’s Facebook page

to the gang’s page.

     The affidavit simply provides no substantial basis for concluding

that this individual — like other gang members — used his Facebook

account in this way. Put differently, it fails to establish a nexus between

the locations law enforcement intended to search and the objects it

wanted to seize. United States v. Tate, 586 F.3d 936, 943 (11th Cir. 2009)

(holding probable cause requires nexus between contraband and

particular place law enforcement seeks to search).

     The Court recognizes that a law enforcement officer’s opinion can

sometimes provide the required nexus.         In a case involving drug

trafficking, for example, an officer’s opinion, based on his or her

experience, knowledge, and training, that drug dealers often store drugs,

illicit cash proceeds, and other contraband at their homes, can establish



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the nexus necessary to authorize a search of a suspected drug trafficker’s

home. See United States v. Joseph, 709 F.3d 1082, 1100 (11th Cir. 2013).

That is because “a police officer’s expectation, based on prior experience

and the specific circumstances of the alleged crime, that evidence is likely

to be found in a [certain location], satisfies probable cause.” Id. (internal

quotation marks omitted); see also Tate, 586 F.3d at 943 (evidence that

defendant has stolen materials one would normally store at home

sufficient to establish probable cause).

     But that rule does not apply here. Special Agent Johnson alleges

that he believed Defendant Propps’s Facebook page would contain

evidence of gang members “discussing and/or depicting criminal activity.”

(Johnson Aff. at ¶ 20.) But, he professes no special training, experience,

or knowledge in this area. His opinion seems to be based exclusively on

the fact that some number of members “use social media outlets,

particularly Facebook, as a means to proclaim their membership” and

that “many” gang members post incriminating photos on their Facebook

accounts. (Id. at ¶¶ 3(e), 5). He provides no link — through the fruits of

his investigation or his own experience — to say that this particular




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person, even if a member of the gang, used his Facebook account like

other members did.

           2.    Whether the Exclusionary Rule Applies

     Ordinarily, a court must exclude evidence obtained in violation of

an individual’s rights under the Fourth Amendment. See Martin, 297

F.3d at 1312. The exclusionary rule is a judicially created remedy to

deter future Fourth Amendment violations. Id.

     The government, however, is not barred from using evidence

obtained by officers acting in reasonable reliance on a search warrant

issued by a neutral magistrate, even if the search warrant is ultimately

found invalid. See Leon, 468 U.S. at 923. The Supreme Court held that,

given the goal of deterring misconduct, a court should not apply the

exclusionary rule unless the application and warrant were so defective or

deficient that no reasonably well-trained officer would have relied on

them. Id. Put differently, the exclusionary rule does not apply when an

officer, acting with objective good faith, obtains a search warrant from a

neutral magistrate judge and acts within the scope of the warrant. See

id. at 920–21. This good faith exception does not apply in four instances,

specifically when: (1) the judicial officer issues the warrant on a



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deliberately or recklessly false affidavit; (2) the judicial officer abandons

his judicial role; (3) the warrant so lacks any indicia of probable cause as

to render official belief in its existence entirely unreasonable; or (4) the

warrant is so facially deficient that an officer could not reasonably

presume it valid. Id. at 923.

     As an alternative ground to deny Defendant Propps’s motion to

suppress, the Magistrate Judge ruled that the government was entitled

to the benefit of the good faith exception. Because Defendant Propps did

not file specific objections to the Magistrate Judge’s recommendation, he

has not addressed this issue.

     Having fully reviewed it, the Court agrees with the Magistrate

Judge. There is no evidence that Special Agent Johnson intentionally or

recklessly misled the issuing magistrate judge. There also is no basis to

find the magistrate judge abandoned his “judicial role” in issuing the

warrant. And while the Court finds the affidavit ultimately insufficient,

it was not so lacking in indicia of reliability that no reasonable agent

could have believed it valid. Special Agent Johnson identified the gang’s

use of Facebook to communicate and showed that those communications

might include evidence of a crime. He also established probable cause to



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believe Defendant Propps was a member of the gang — indeed a founding

member. It is not such a crazy leap to believe that he might have used

his Facebook account for criminal purposes so that Special Agent

Johnson acted unreasonably.

     Indeed, one could argue that — having established the modus

operandi of the gang — it was reasonable to assume other members acted

in the same way.     Such an assumption is not so different from the

Eleventh Circuit’s determination that an officer can establish the

necessary nexus based on his or her opinion that people who engage in

some crimes often keep instruments of those crime in their homes. It is

also worth noting that the Eleventh Circuit issued its opinion in Blake

(which involved an overt link between a suspect’s Facebook account and

the individual’s illegal activity) five months after Special Agent Johnson

received the search warrant at issue. And the Magistrate Judge who

reviewed Defendant Propps’s motion to suppress found the affidavit

sufficient to establish probable cause even after Blake.

     While this Court disagrees, the difference of opinion between

reviewing judges bolsters the conclusion that whether the affidavit is

lacking is not an open-and-shut matter. It may be lacking; but its flaws



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are not so obvious that Special Agent Johnson was unreasonable in

relying on it. And finally, no one claims the warrant itself was so facially

deficient that the executing officers could not have presumed it to be

valid. Even if probable cause did not exist to support the issuance of the

warrant, suppression is inappropriate.      The Court denies Defendant

Propps’s motion to suppress.

           Motion to Dismiss Superseding Indictment on Double
           Jeopardy Grounds

     The United States did not charge Defendant Propps in Count One

of the superseding indictment, which alleges a conspiracy by various

members of the Ghostface Gangsters to violate federal racketeering laws.

But he is mentioned in several overt acts that the government claims

were part of the racketeering activity. The superseding indictment, for

example, alleges that he was a founding member of the Ghostface gang.

(Dkt. 279 at 9.) It also alleges that he and other members of the gang

sold methamphetamine, cocaine, and pills “on numerous occasions”

between 2010 and 2011 and that he possessed methamphetamine, $1800,

and marijuana on November 25, 2013. (Id. at 16, 17.) In another overt

act, it alleges that Defendant Propps participated in a “video meeting”

with other gang members to discuss “gang business” on April 22, 2017.


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(Id. at 25.) Finally, it alleges that, while in prison in 2017, he sent a

photo of methamphetamine to another gang member and offered to sell

him the drugs. (Id. at 26.)

     The United States charged Defendant Propps in Count Two of the

superseding indictment. (Id. at 32–34.) The United States alleged that

he conspired with others to distribute and possess with the intent to

distribute methamphetamine from sometime in 2002 until sometime in

2018. (Id.).

     Defendant Propps alleges that — before his indictment in this case

— authorities in Cobb and Douglas counties prosecuted him for the

conduct at issue in two of the overt acts alleged as part of the racketeering

offense. He also alleges that these same acts “appear” to be the basis for

his indictment in Count Two. (Dkt. 407 at 3.) He claims that this violates

the Double Jeopardy Clause of the Constitution. As part of this, he also

claims that he cannot be sentenced to any additional time if convicted

here as he will receive credit for the time served in state court for his

prior convictions.

     The Magistrate Judge denied Defendant Propps’s motion. (Dkt.

413.) This Court also rejects it. First, it is not clear that his prior



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convictions encompass the entirety of Defendant Propps’s alleged

involvement in the conspiracy at issue in Count Two. The conspiracy

charge may arise from conduct apart or in addition to these two overt

acts. Afterall, the racketeering charge recounts his involvement in other

potential criminal activity besides the acts that led to his prior

convictions. And Count Two alleges that the criminal conspiracy began

years before the activity identified in these two overt acts and continued

for years afterwards.

     Second, current precedent from the Supreme Court and Eleventh

Circuit hold that successive prosecutions by different sovereigns does not

violate the Double Jeopardy Clause. See, e.g., Abbate v. United States,

359 U.S. 187, 195 (1959); see also United States v. Bidwell, 393 F.3d 1206,

1209 (11th Cir. 2004) (“The Double Jeopardy Clause does not prevent

different sovereigns (i.e., a state government and the federal government)

from punishing a defendant for the same criminal conduct.”).          The

United States is a different sovereign from either Cobb or Douglas

counties.

     The Court understands that the Supreme Court has granted

certiorari in Gamble v. United States, 138 S. Ct. 2707 (2018), possibly to



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reconsider the so-called dual-sovereignty doctrine. But that remains the

law for now and precludes Defendant Propps’s double jeopardy claim.

The Court also does not credit his argument that he faces no threat of

additional incarceration if convicted here. The Court denies his motion

to dismiss.

              Motion for Bill of Particulars

     In his motion for a bill of particulars, Defendant Propps sought an

order directing the government to identify: (1) the dates he allegedly sold

or possessed methamphetamine; (2) how his actions furthered the

racketeering conspiracy; (3) who approved his alleged crimes; (4) what

criminal activities occurred during the video conference; (5) details about

his alleged offer to supply methamphetamine; and (6) information to

support his double jeopardy claim. (See Dkt. 406 at 2–3.) The Magistrate

Judge denied his motion on September 25, 2018. (Dkt. 413). He needed

to file any objections within fourteen days. FED. R. CRIM. P. 59(a). He

did not do so, waiting until November 1, 2018, to object. (Dkt. 467.) He

has thus waived his right to review. See FED. R. CRIM. P. 59(a).

     Even considering the merits, Defendant Propps makes no specific

objections, merely referencing “the cases cited” in his initial motion —



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not helpful or persuasive. Putting that aside as well, the Court overrules

his objection and denies his motion for a bill of particulars.

      “The purpose of a bill of particulars is to inform the defendant of

the charge against him with sufficient precision to allow him to prepare

his defense, to minimize surprise at trial, and to enable him to plead

double jeopardy in the event of a later prosecution for the same offense.”

United States v. Davis, 854 F.3d 1276, 1293 (11th Cir. 2017) (internal

quotation marks omitted). A bill of particulars “may not be used to obtain

a detailed disclosure of the government’s evidence prior to trial.” See

United States v. Perez, 489 F.2d 51, 70–71 (5th Cir. 1973). “Nor is the

defendant entitled to a bill of particulars with respect to information

which is already available through other sources such as the indictment

or discovery and inspection.” United States v. Rosenthal, 793 F.2d 1214,

1227 (11th Cir.), modified on reh’g, 801 F.2d 378 (11th Cir. 1986).

      The superseding indictment here provides sufficient detail and

clarity to notify Defendant Propps of the charges against him so that he

may prepare his defense.2      It includes several allegations about his



2 Defendant Propps does not need additional information to protect
against double jeopardy in the future. The superseding indictment


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membership in the gang, his sale of controlled substances, people with

whom he sold controlled substances, and several dates on which law

enforcement claims he did these things.

     Defendant Propps’s requests also seek information that is either

unsuitable for a bill of particulars or not required by law. Most of his

requests seek details about dates, times, locations, and actions

undertaken by him, other gang members, or co-conspirators.           These

requests exceed the proper scope of a bill of particulars. See United States

v. Henley, No. 1:16-cr-151, 2017 WL 2952821, at *16 (N.D. Ga. May 19,

2017) (denying motion for bill of particulars seeking details about overt

acts taken to advance extortion and drug conspiracies), adopted by 2017

WL 2918954 (N.D. Ga. July 7, 2017); see also United States v.

Goldenshtein, No. 1:10-cr-323, 2011 WL 1321573, at *13 (N.D. Ga. Feb.



alleges on-going illegal activity occurring during a sixteen-year span,
thus providing broad protection from later prosecution. The Court also
sees no need for additional information to avoid double jeopardy for
Defendant’s prior crimes. The superseding indictment — on its face —
includes criminal activity far beyond his two prior state convictions.
Even if it did not, the current state of the law does not block later
prosecutions by separate sovereigns. If the law changes, the government
will have to prove that the superseding indictment here does not violate
double jeopardy given Defendant Propps’s prior convictions. It seems
likely the government can do so on the face of the superseding indictment.


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22, 2011), adopted by 2011 WL 1257147 (N.D. Ga. Apr. 1, 2011) (“A bill

of particulars cannot be used to ferret out additional overt acts not listed

in the indictment, as long as the indictment alleges the required number

of overt acts under the statute being charged.”).

     The Court finds that Defendant Propps has failed to carry his

burden to show that additional details are necessary to enable him to

prepare his defense, avoid surprise, or plead double jeopardy in a

subsequent proceeding. See United States v. Giffen, 379 F. Supp. 2d 337,

346 (S.D.N.Y. 2004) (citation omitted) (“The ultimate test in deciding

whether a bill of particulars should be ordered is whether the information

sought is necessary, as opposed to helpful, in preparing a defense.”). The

Court denies his motion for a bill of particulars.

III. Conclusion

     For the foregoing reasons, the Court ADOPTS IN PART the

Magistrate Judge’s recommendation about Defendant Propps’s motion to

suppress and DENIES the motion. (Dkts. 409, 416.) The Court also

DENIES Defendant Propps’s motion for bill of particulars and motion to

dismiss indictment. (Dkts. 406, 407).




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  SO ORDERED this 19th day of February, 2019.




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